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;,§1‘13UF.C l2 li*‘ 5'1*3
IN T§IE::' UNITEDlSTATES DISTRICT COURT
QRJTHEBWRICT OF MARYLAND

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UNITED STATES OF NM-ERI€'A”' "'L'“" E }

Relation to a ])rug Trafi`lcking Crime,
18 U.S.C. § 924(j); Concealing Person
from Arrest, 18 U.S.C. § 1071;`Ajding
and Abetting, 18 U.S.C. § 2)

Defendants.

)
)
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) CRIMINAL NO. JKB-18“0326
JONATHAN EDGES, ) (Conspiracy to Distribute Controlled
a/k/a “Toby,” ) Substances, 21 U.S.C. § 846; Using,
) Carrying, Brandishing, and
and ) Discharging a Firearm During and in
) Relation to a Drug Trafficking Crime,
MARQUISE MCCANTS, ) 18 U.S.C. § 924(c); Use of a Firearm
afk/a/ “Digga,” ) Resulting in Death During and in
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SECOND SUPERSEDING INDI_CTMENT
COUNT ONE
(Conspiracy to Distribute and Possess with Intent to Distribute Controlled Substances)

The Grand Jury for the District of Maryland charges that:

Frorn at least in or about December 2016 through in or about February 2017, in the
Distn`ct of Maryland and elsewhere, the defendants,

JONATHAN EDGES, a/k/a “Toby,”
and
MARQUISE MCCANTS, a/kfa “Digga,”

did knowingly and Willfully combine, conspire, confederate, and agree With others known and
unknown to the Grand Jui'y to knowingly and intentionally distribute and possess With intent to

distribute a mixture or substance containing a detectable amount of heroin, a Schedule I

controlled substance; and a mixture or substance containing a detectable amount of cocaine, a

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Schedule II controlled Substance, in violation of Section 841(3)(1) and (b)(l)(C) of Title 21,
Urn`ted States Code.

21U.s.C.-_§846

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COUNT TWO

(Using, Carrying, and Brandishing a Firearrn During and
in Relation to a Drug Traff`lcking Crime)

The Grand Jury for the District of` Maryland further charges that:
On or about January 16, 2017, in the District of l\/IarylandJ the defendant,
JoNATHAN EDGES`, ark/a “Toby,”

did knowingly use, carry, and brandish a firearm during and in relation to a drug trafficking
crime for which he may be prosecuted in a court of the United States, namely conspiracy to
distribute and possess with intent to distribute controlled substances, in violation of Title 21 of
the United States Code Section 846, as alleged in Count One of this Indictment, and also did
knowingly possess said firearm in furtherance of that drug trafficking crime.

is U.s.C. § 924(¢)
is U.s.c. § 2

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COUNT THREE

(Use of a Firearm Resulting in Death During and
in Relation to a Drug Traff"lcking Crime)

The Grand Jury.for the District of Maryland further charges that:
On or about January 19, 2017, in the District of Maryland, the defendants,
JONATHAN EDGES, a/k_fa “Toby,”
MARQUISE MCCE::IC\IITS, a/k/a “Digga,”

did knowingly use, carry, brandish, and discharge a firearm during and in relation to a drug
trafficking crime for which they may be prosecuted in a court of the United States, namely
conspiracy to distribute and possess with intent to distribute controlled substances, in Violation of
Title 21 of the United States Code Section 846, as alleged in Count One of this lndictment, and
also did possess said firearm in furtherance of that drug trafficking crime; and in the course of a
violation of Section 924(c) of Title 18, United States Code, did cause the death of another
person, George Cookson, through the use of a firearm, which killing constituted murder in the
first degree, as defined in Section 1111 of Title 18, United States Code.
18 U.S.C. § 924(0)
18 U.S.C. § 924@)

18 U.S.C. § 1111
18 U.S.C. § 2

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COUNT FOUR
(Concealing Person from Arrest)

The Grand Jury for the District of Maryland further charges that:

Between on or about November 16, 2016 and on or about February 5, 20,17, in the
District of Maryland, the defendant,

JONATHAN EDGES, a/k/a “Toby,”

harbored and concealed Marquise McCants, a/k/a “Digga,” a person for whose arrest a warrant
and process had been issued under the provisions of a law of the United States, so as the prevent
the discovery and arrest of Marquise McCants, a/k/a “Digga,” after notice and knowledge of the
fact that a warrant and process had been issued for the apprehension of Marquise McCants, a/k/a
“Digga,” and which warrant had been issued on a felony charge.

18 U.S.C. § 1071

 

 

18 U.S.C. § 2
Q®~'l
Roi§ERT K.HUR
UNITED STATES ATTORNEY
A TRUE BILL: -"____"‘“~_“-----__
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